Case 21-03981   Doc 109   Filed 08/20/21 Entered 08/20/21 13:55:58                 Desc Main
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                                         TCF National Bank now a part of The Huntington National Bank




                                         Stefano Benvenuti - Bank Officer FRG




                                          11100 Wayzata Blvd., Minnetonka MN 55305



                                                             952-656-7468


                                                     08/20/2021
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Jakubowski, Steve

From:                     Benvenuti, Stefano <Benvenuti@tcfbank.com>
Sent:                     Friday, August 20, 2021 10:42 AM
To:                       Jakubowski, Steve
Cc:                       Volpe, Kathleen
Subject:                  RE: OER Services Plan of Reorganzation - Ballot from CE Capital Requested
Attachments:              2021-08-20 Ballot.pdf


Attached. Additionally, I authorize Mr. Steve Jakubowski to file the ballot with the Court.

Sincerely,


Stefano Benvenuti | Officer – Financial Recovery Representative II | The Huntington National Bank | Phone: 952-656-
7468
| huntington.com




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or limitation upon any of the Bank’s rights or remedies, at law or in equity, which are expressly reserved, and shall be cumulative and non‐exclusive.




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